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TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN

NO. 03-21-00571-CV

Texas Department of State Health Services, and Dr. John Hellerstedt,
in his Official Capacity as Commissioner of DSHS, Appellants

Vv.

Sky Marketing Corp., d/b/a Hometown Hero; Create A Cig Temple, LLC;
Darrell Surif; and David Walden, Appellees

FROM THE 126TH DISTRICT COURT OF TRAVIS COUNTY
NO. D-1-GN-21-006174, THE HONORABLE JAN SOIFER, JUDGE PRESIDING

ORDER

PER CURIAM

In this interlocutory appeal, appellees have filed an emergency motion for
Rule 29.3 temporary relief, asking this Court to reinstate the trial court’s temporary injunction
during the pendency of this appeal. See Tex. R. App. P. 29.3 (“[T]he appellate court may make
any temporary orders necessary to preserve the parties’ rights until disposition of the appeal{.]’”).
To preserve the status quo and best preserve the parties’ rights during this appeal’s pendency, we
grant appellees’ motion and order that the trial court’s temporary injunction is reinstated until the
disposition of this appeal. See id.; see also In re Geomet Recycling LLC, 578 S.W.3d 82, 89-90
(Tex. 2019) (orig. proceeding) (“Rule 29.3 gives an appellate court great flexibility in preserving
the status quo based on the unique facts and circumstances presented.”); Texas Gen. Land Office

v. City of Houston, No. 03-20-00376-CV, 2020 WL 4726695, at *2 (Tex. App.—Austin July 31,

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2020, order) (per curiam) (“{A]t this preliminary stage, our task is to determine whether a
temporary order will best ‘preserve the parties’ rights until the disposition of the appeal,’ not to
determine the merits of the appeal.”).

It is ordered on November 18, 2021

Before Justices Goodwin, Baker, and Smith
